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                 IN THE UNITED STATES DISTRICT COLIRT4
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION, 2024 flO - 3 P 3: I

BRIANNA BOE, et al.,                        )
                                            )
         Plaintiffs,                        )
                                            )
and                                         )
                                            )            Case No.: 2:22-cv-00184-LCB
UNITED STATES OF AMERICA,                   )               FILED UNDER SEAL
                                            )
        Plaintiff-Intervenor,               )
                                            )
v.
                                            )
                                            )
STEVE MARSHALL, in his official
capacity as Attorney General of the         )
State of Alabama, et al.,
                                            ))
         Defendants.
                                            ))

      RESPONDENT KATHLEEN HARTNETT'S MOTION TO SUBMIT
                   ADDITIONAL EVIDENCE

        Respondent Kathleen Hartnett, in compliance with the Court's Order to Show

Cause, identifies the following additional evidence that she believes is necessary for

the Court's consideration:

     1. Hartnett supplemental declaration: Hartnett seeks to submit a supplemental

        declaration addressing matters in the Final Report of Inquiry to clarify the

        factual record, including, but not limited to:
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     a. Hartnett's lack of participation in an April 13, 2022 phone call that the

        Panel characterized as involving Walker counsel attempting to persuade

        Ladinsky counsel to transfer Ladinsky to the Middle District to be in

        front of Judge Thompson. Hartnett was not asked about this call by the

        panel, and she wants to provide a clear record that she was not on the

        call.

     b. Hartnett's participation in phone calls on April 15, 2022. The record

        contains evidence of multiple phone calls on Friday, April 15, 2022.

        The Panel's Report identifies one conference call on April 15

        purportedly including Hartnett. Vague, Doc. 70 at 31. The Report later

        discusses comments by counsel on a phone call about impressions of

        judges, but it does not provide clarity on whether this call is the same

        call as a conference call with Hartnett. Hartnett seeks to provide a

        declaration that identifies the phone calls that she participated in and

        whether those phone calls involve the judge-related discussions

        identified in the Report.

     c. The personal and professional impact of the threat of sanctions on

        Hartnett.




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     d. To the extent Hartnett identifies any other material issues on which the

        record is not clear, she seeks to provide testimony by a supplemental

        declaration on those issues.

2. Hartnett supplemental testimony: At the May 22-23, 2024 hearings,

  Hartnett will be prepared to address any questions from the Court and would

  welcome the opportunity to further address her conduct in the Walker case and

  the In re Vague proceeding.

3. Expert testimony: Hartnett seeks to submit expert testimony, either by

  declaration or live testimony, from Clark Cunningham as follows:

     a. Mr. Cunningham is a professor of law and the W. Lee Burge Chair in

        Law & Ethics at Georgia State University College of Law. He is also

        the director of the National Institute for Teaching Ethics and

        Professionalism and the co-editor of the International Forum on

        Teaching Legal Ethics & Professionalism. Mr. Cunningham has served

        on the Chief Justice's Commission on Professionalism in Georgia for

        over twenty years. Mr. Cunningham has previously testified in matters

        related to the nature and scope of professional duties of attorneys in a

        wide variety of legal contexts, including professional malpractice,

        disqualification, ineffective assistance of counsel, and attorney

        discipline. He has also served as a special master, appointed by the

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        Supreme Court of Georgia, in an attorney discipline proceeding, and

        the Supreme Court of Georgia adopted his recommendation. In

        connection with his testimony, Mr. Cunningham will provide additional

        information on his qualifications, publications, and prior testimony.

     b. Mr. Cunningham will provide testimony and opinions on the following

        topics:

           i. The professional duties that Hartnett and the Walker legal team

              owed generally to their clients to accomplish the objectives of

              their representation within the bounds of the applicable rules and

              laws.

           ii. The professional duties that Hartnett and the Walker legal team

              may have owed to their clients to identify Walker as related to

              Corbitt upon filing;

          iii. Whether Hartnett's role in marking Walker as related to Corbitt

              violated the Alabama Rules of Professional Conduct or any other

              rules or standards of conduct;

          iv. The professional duties that Hartnett and the Walker legal team

              may have owed to their clients to file the voluntary dismissal in

              the Walker case under Rule of Civil Procedure 41 on April 15,

              2022;

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              v. Whether Hartnett violated the Alabama Rules of Professional

                  Conduct or any other rules or standards of conduct by filing a

                  voluntary dismissal in the Walker case on April 15, 2022.

             vi. How Hartnett's role in attempting to relate the Walker case to

                  Corbitt and later dismissing the Walker case relates to the general

                  principles of professional responsibility.

        c. To the extent disciplinary action against Hartnett may be based on

           anything beyond her conduct related to the voluntary dismissal and

           relatedness designation, Mr. Cunningham may have additional opinions

           to offer.

  4. Other supplemental evidence: Hartnett may seek to rely on any other

     supplemental materials submitted by other Respondents in this action.

Dated: March 8, 2024.


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                                      Counselfor Kathleen Hartnett




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                          CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the foregoing has been served
on all parties of record via electronic mail and/or U.S. Mail on this the 8th day of
March, 2024.



                                                               vz,




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